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Attorneys for Defendant
GOOGLE LLC


                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA



JANE DOE I, et al., individually and on behalf   Case No. 3:23-cv-02431-VC
of all others similarly situated,                (Consol. w/ 3:32-cv-02343-VC)

                Plaintiffs,                      DECLARATION OF DAVID DOAK IN
                                                 SUPPORT OF DEFENDANT
       vs.                                       GOOGLE’S MOTION TO
                                                 DISQUALIFY PLAINTIFFS’ EXPERT
GOOGLE LLC,                                      WITNESS DR. TIMOTHY LIBERT
                Defendant.                       Date: September 21, 2023
                                                 Time: 10:00 a.m.
                                                 Ctrm.: 4, San Francisco

                                                 Complaint Filed:   May 17, 2023




               DECLARATION OF DAVID DOAK IN SUPPORT OF DEFENDANT GOOGLE’S
             MOTION TO DISQUALIFY PLAINTIFFS’ EXPERT WITNESS DR. TIMOTHY LIBERT
                                  CASE NO. 3:230-CV-002431-VC
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       I, David Doak, declare and state that:

       1.       I am an attorney licensed to practice law in the State of California and am an

associate at Willkie Farr & Gallagher LLP, counsel for Defendant Google LLC (“Google,” and

together with Plaintiffs, “the Parties”) in the above-captioned matter. I am duly admitted to

practice law before this Court. I submit this declaration pursuant to Local Rule 7-5 and in support

of Google’s motion to disqualify Plaintiffs’ expert witness Dr. Timothy Libert. I have personal

knowledge of the facts set forth herein, and if called to testify as a witness thereto, could do so

competently under oath.

       2.       On August 14, 2023, Plaintiffs’ counsel contacted Google’s counsel via email,

stating, “[w]e request to meet and confer regarding whether it is actually necessary for the Court

to rule on Google’s motion to disqualify.”

       3.       Counsel for the Parties met and conferred by telephone on August 17. During this

conversation, Plaintiffs’ counsel stated their view that the controversy regarding Dr. Libert’s

participation in this case no longer existed because Plaintiffs did not intend to offer any further

testimony from Dr. Libert beyond the declaration he had already submitted. I reiterated Google’s

objection to Dr. Libert’s participation in this case in any capacity because of the relevant

confidential information he received from Google during his recent employment with the

company. Further, I renewed Google’s request that Plaintiffs withdraw Dr. Libert’s declaration.

Plaintiffs’ counsel refused to do so.

       4.       Plaintiffs’ counsel then suggested that their preliminary-injunction motion relied

on Dr. Libert’s testimony for only a few propositions. I then asked Plaintiffs’ counsel whether it

was their position that the preliminary-injunction motion could not succeed without support from

Dr. Libert’s declaration. Plaintiffs’ counsel denied that this was their position.

       5.       Plaintiffs’ counsel then suggested that perhaps the parties’ dispute over Dr. Libert’s

participation could be resolved by stipulation.       I responded that Google would consider a




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              DECLARATION OF DAVID DOAK IN SUPPORT OF DEFENDANT GOOGLE’S
            MOTION TO DISQUALIFY PLAINTIFFS’ EXPERT WITNESS DR. TIMOTHY LIBERT
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stipulation if Plaintiffs wished to propose one, but that Google’s position remained that Dr. Libert’s

declaration should be withdrawn.

        6.       Plaintiffs’ counsel then stated their view that an impasse had been reached. I

agreed, and the call ended.

        7.       On August 21, Plaintiffs’ counsel emailed a proposed stipulation to Google’s

counsel. The proposal contemplated that Dr. Libert’s declaration, as well as Google’s motion to

disqualify him, would be withdrawn pursuant to the Parties’ stipulation to several “facts” for

purposes of the preliminary-injunction motion.

        8.       On August 22, I responded to Plaintiffs’ counsel with Google’s proposed revisions

to the stipulation, including to the facts to which the parties would stipulate.               Google’s

counterproposal also included the following clarifying language: “Plaintiffs will not employ Dr.

Libert as an expert or consultant in this action, and will not confer with Dr. Libert in any way about

this action.”

        9.       On August 24, Plaintiffs’ counsel responded via email that they would not be

entering into a stipulation. Plaintiffs filed their response to Google’s motion to disqualify Dr.

Libert later that day.



        I declare under penalty of perjury under the laws of the United States and the State of

California and the United States that the foregoing facts are true and correct.

        Executed on September 7, 2023 at San Francisco, California.




                                                          By: /s/ David Doak               .




                                                              David Doak




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               DECLARATION OF DAVID DOAK IN SUPPORT OF DEFENDANT GOOGLE’S
             MOTION TO DISQUALIFY PLAINTIFFS’ EXPERT WITNESS DR. TIMOTHY LIBERT
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